Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.563 Filed 09/25/20 Page 1 of 65




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

DETROIT WILL BREATHE,
TRISTAN TAYLOR, NAKIA WALLACE,                            Case No. 2:20-cv-12363
JAZTEN BASS, LAUREN ROSEN, LAURYN                         Hon: Laurie J. Michelson
BRENNAN, AMY NAHABEDIAN, ZACHARY
KOLODZIEJ, LAUREN BRANCH,
LILLIAN ELLIS, OLIVIA PUENTE,
IMAN SALEH, MARGARET HENIGE,
CAYLEE ARNOLD, and ALEXANDER ANEST,

                  Plaintiffs,
vs.

CITY OF DETROIT, a municipal corporation,
MAYOR MICHAEL DUGGAN, acting in his official
and individual capacities, CHIEF JAMES CRAIG, acting in his official
and individual capacities, OFFICER STEPHEN ANOUTI, SERGEANT
TIMOTHY BARR, OFFICER DAVID HORNSHAW, OFFICER MARIAH
ERARD, and OFFICER DOES 1-100 inclusive,
acting in their respective individual capacities, all jointly and severally,

           Defendants.
__________________________________________________________________/

  DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES TO VERIFIED
    COMPLAINT FOR DAMAGES AND FOR DECLARATORY AND
 INJUNCTIVE RELIEF, AND COUNTERCLAIM AGAINST PLAINTIFFS

        Defendants, by and through their attorneys, Clark Hill PLC and Corporation

Counsel for the City of Detroit, Lawrence García, for their Answer and Affirmative

Defenses to Plaintiffs’ Verified Complaint for Damages and for Declaratory and

Injunctive Relief, state as follows:



                                              1
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.564 Filed 09/25/20 Page 2 of 65




        1.       Defendants admit only that since May 29, 2020, members of the Detroit

Police Department have responded to protests within the City of Detroit. Defendants

are without knowledge or information sufficient to form a belief as to the truth of

the allegation that each Plaintiff has participated in every protests that has occurred

in the City of Detroit since May 29, 2020 or that each Plaintiff is motived to

participate in protests because of the death of George Floyd, and therefore, leave

Plaintiffs to their proofs. To the extent that Plaintiffs raise any allegations about

Defendants in this Paragraph, Defendants deny the allegations as stated.

        2.       Defendants deny the allegations as stated.

        3.       Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        4.       Defendants deny the allegations as stated.

        5.       Defendants deny the allegations as stated.

        6.       Defendants deny the allegations as stated.

        7.       Defendants deny the allegations as stated.

        8.       Defendants deny the allegations as stated.

        9.       Defendants deny the allegations as stated.

        10.      Defendants admit that Plaintiffs’ lawsuit is premised on alleged

violations of the First, Fourth, Fifth, and Fourteenth Amendments to the United


                                              2
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.565 Filed 09/25/20 Page 3 of 65




States Constitution, the Civil Rights Act of 1871, and 42 U.S.C. § 1981 and § 1983,

but deny as untrue that Defendants are liable to Plaintiffs in any way. Defendants

deny as stated any allegation not specifically admitted.

        11.      Defendants admit Plaintiffs seek declaratory and injunctive relief.

Defendants deny that they are liable to Plaintiffs for any claim asserted in this action.

Defendants deny that Plaintiffs are entitled to any of the relief sought in this action.

Defendants deny as untrue any allegation not specifically admitted.

                                  JURISDICTION AND VENUE

        12.      Defendants admit that this Court has jurisdiction over Plaintiffs’ claims

but deny that they are liable to Plaintiffs for any claim asserted in this action.

Defendants deny as stated any allegation not specifically admitted.

        13.      Defendants admit that this Court has jurisdiction over Plaintiffs’ claims

but deny that they are liable to Plaintiffs and that Plaintiffs are entitled to the relief

sought. Defendants deny as stated any other allegation not specifically admitted.

        14.      Defendants admit that the events giving rise to this matter occurred in

the Eastern District of Michigan but deny that they are liable to Plaintiffs and that

Plaintiffs are entitled to the relief sought. Defendants deny as stated any other

allegation not specifically admitted.




                                              3
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.566 Filed 09/25/20 Page 4 of 65




                                              PARTIES

        15.      Defendants admit only that Plaintiff Detroit Will Breathe filed to

become a domestic nonprofit corporation organized under the laws of the State of

Michigan on June 23, 2020. Defendants deny as untrue the remaining allegations as

stated.

        16.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        17.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        18.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        19.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        20.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.


                                                 4
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.567 Filed 09/25/20 Page 5 of 65




        21.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        22.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        23.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        24.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        25.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        26.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.




                                              5
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.568 Filed 09/25/20 Page 6 of 65




        27.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        28.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        29.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        30.      Defendants admit that the City of Detroit is a municipal corporation

duly organized and existing under the Constitution and laws of the State of

Michigan. Defendants admit that the City of Detroit is authorized by law to maintain

and operate the Detroit Police Department. Defendants admit that Defendants Mayor

Duggan and Chief Craig had the authority to authorize published directives and

policies. Defendants further admit that Defendants Mayor Duggan and Chief Craig

have the authority to enforce those published directives and policies. Defendants are

without knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this Paragraph not specifically admitted to and accordingly

leave Plaintiffs to their proofs.




                                              6
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.569 Filed 09/25/20 Page 7 of 65




        31.      Defendants admit that Plaintiffs bring their claims against Defendant

Mayor Michael Duggan in his individual and official capacities but deny that Mayor

Duggan is liable to Plaintiffs for any claim asserted in this action. Defendants deny

as untrue any allegation not specifically admitted.

        32.      Defendants admit that Plaintiffs bring their claims against Defendant

Chief James Craig in his individual and official capacities but deny that Chief James

Craig is liable to Plaintiffs for any claim asserted in this action. Defendants deny

as untrue any allegation not specifically admitted.

        33.      Defendants admit that Defendant Officer Stephen Anouti is a police

officer with the DPD. Defendants admit that Plaintiffs bring their claims against

Officer Anouti in his individual capacity but deny that Officer Anouti is liable to

Plaintiffs for any claim asserted in this action. Defendants deny as untrue any

allegation not specifically admitted.

        34.      Defendants admit that Defendant Sergeant Timothy Barr a police

officer with the DPD. Defendants admit that Plaintiffs bring their claims against

Sergeant Barr in his individual capacity but deny that Sergeant Barr is liable to

Plaintiffs for any claim asserted in this action. Defendants deny as untrue any

allegation not specifically admitted.

        35.      Defendants admit that Defendant Officer David Hornshaw is a police

officer with the DPD. Defendants admit that Plaintiffs bring their claims against


                                              7
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.570 Filed 09/25/20 Page 8 of 65




Officer Hornshaw in his individual capacity but deny that Officer Hornshaw is liable

to Plaintiffs for any claim asserted in this action. Defendants deny as untrue any

allegation not specifically admitted.

        36.      Defendants admit that Defendant Officer Mariah Erard is a police

officer with the DPD. Defendants admit that Plaintiffs bring their claims against

Officer Erard in her individual capacity but deny that Officer Erard is liable to

Plaintiffs for any claim asserted in this action. Defendants deny as untrue any

allegation not specifically admitted.

        37.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

                                    FACTUAL ALLEGATIONS

                   Black Lives Matter: Context of Current Demonstrations

        38.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        39.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.




                                              8
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.571 Filed 09/25/20 Page 9 of 65




        40.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        41.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        42.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        43.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        44.      This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        45.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.




                                              9
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.572 Filed 09/25/20 Page 10 of 65




        46.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        47.      Defendants deny the allegations as stated in this Paragraph as untrue.

        48.      Defendants deny the allegations as stated in this Paragraph as untrue.

 Defendants Used Batons, Riot Shields, and Excessive Physical Force to Brutalize
                                Demonstrators

        49.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        50.      Defendants deny the allegations as stated in this Paragraph as untrue.

        51.      Defendants deny the allegations as stated in this Paragraph as untrue.

        52.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        53.      Defendants deny the allegations as stated in this Paragraph as untrue.

        54.      Defendants deny the allegations as stated in this Paragraph as untrue.

        55.      Defendants deny the allegations as stated in this Paragraph as untrue.

        56.      Defendants deny the allegations as stated in this Paragraph as untrue.

        57.      Defendants deny the allegations as stated in this Paragraph as untrue.

        58.      Defendants deny the allegations as stated in this Paragraph as untrue.

                                              10
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.573 Filed 09/25/20 Page 11 of 65




        59.      Defendants deny the allegations as stated in this Paragraph as untrue.

        60.      Defendants deny the allegations as stated in this Paragraph as untrue.

        61.      Defendants deny the allegations as stated in this Paragraph as untrue.

        62.      Defendants deny the allegations as stated in this Paragraph as untrue.

        63.      Defendants deny the allegations as stated in this Paragraph as untrue.

        64.      Defendants deny the allegations as stated in this Paragraph as untrue.

        65.      Defendants admit that officers issued Plaintiff G. Branch a

misdemeanor ticket for Disorderly Conduct. Defendants deny as untrue any

allegation not specifically admitted.

        66.      Defendants deny as stated and as untrue the allegations contained in

this Paragraph.

        67.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        68.      Defendants deny the allegations as stated in this Paragraph as untrue.

        69.      Defendants admit that on May 31, 2020 Mayor Duggan declared a state

of emergency and implemented a citywide curfew of 8:00 p.m. Defendants deny as

untrue any allegation not specifically admitted.




                                              11
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.574 Filed 09/25/20 Page 12 of 65




        70.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        71.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        72.      Defendants deny the allegations as stated in this Paragraph as untrue.

        73.      Defendants deny the allegations as stated in this Paragraph as untrue.

        74.      Defendants deny the allegations as stated in this Paragraph as untrue.

        75.      Defendants deny the allegations as stated in this Paragraph as untrue.

        76.      Defendants deny the allegations as stated in this Paragraph as untrue.

        77.      Defendants deny the allegations as stated in this Paragraph as untrue.

        78.      Defendants admit that on July 10, 2020 Hakim Littleton was shot by

DPD officers after Littleton unlawfully opened fire on the officers, putting their lives

at risk.

        79.      Defendants deny as stated and as untrue the allegations contained in

paragraph 79.

        80.      Defendants deny the allegations as stated in this Paragraph as untrue.

        81.      Defendants deny the allegations as stated in this Paragraph as untrue.

        82.      Defendants deny the allegations as stated in this Paragraph as untrue.


                                              12
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.575 Filed 09/25/20 Page 13 of 65




        83.      Defendants deny the allegations as stated in this Paragraph as untrue.

        84.      Defendants deny the allegations as stated in this Paragraph as untrue.

        85.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        86.      Defendants deny the allegations as stated in this Paragraph as untrue.

        87.      Defendants deny the allegations as stated in this Paragraph as untrue.

        88.      Defendants deny the allegations as stated in this Paragraph as untrue.

        89.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        90.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        91.      Defendants deny the allegations as stated in this Paragraph as untrue.

        92.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.




                                              13
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.576 Filed 09/25/20 Page 14 of 65




        93.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        94.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        95.      Defendants deny the allegations as stated in this Paragraph as untrue.

        96.      Defendants deny the allegations as stated in this Paragraph as untrue.

        97.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        98.      Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        99.      Defendants deny the allegations as stated in this Paragraph as untrue.

        100. Defendants deny the allegations as stated in this Paragraph as untrue.

        101. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        102. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              14
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.577 Filed 09/25/20 Page 15 of 65




        103. Defendants deny the allegations as stated in this Paragraph as untrue.

        104. Defendants deny the allegations as stated in this Paragraph as untrue.

        105. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        106. Defendants deny the allegations as stated in this Paragraph as untrue.

        107. Defendants deny the allegations as stated in this Paragraph as untrue.

        108. Defendants deny as stated and as untrue the allegations contained in

this Paragraph.

        109.      Defendants deny the allegations as stated in this Paragraph as untrue.

        110. Defendants deny the allegations as stated in this Paragraph as untrue.

        111. Defendants deny the allegations as stated in this Paragraph as untrue.

        112. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        113. Defendants deny the allegations as stated in this Paragraph as untrue.

        114. Defendants deny the allegations as stated in this Paragraph as untrue.

        115. Defendants deny the allegations as stated in this Paragraph as untrue.

        116. Defendants deny the allegations as stated in this Paragraph as untrue.

        117. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              15
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.578 Filed 09/25/20 Page 16 of 65




        118. Defendants deny the allegations as stated in this Paragraph as untrue.

        119. Defendants deny the allegations as stated in this Paragraph as untrue.

        120. Defendants deny the allegations as stated in this Paragraph as untrue.

        121. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        122. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        123. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        124. Defendants deny the allegations as stated in this Paragraph as untrue.

        125. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        126. Defendants deny the allegations as stated in this Paragraph as untrue.

        127. Defendants deny the allegations as stated in this Paragraph as untrue.




                                              16
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.579 Filed 09/25/20 Page 17 of 65




        128. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        129. Defendants deny the allegations as stated in this Paragraph as untrue.

        130. Defendants deny the allegations as stated in this Paragraph as untrue.

        131. Defendants deny the allegations as stated in this Paragraph as untrue.

        132. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        133. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        134. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        135. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.




                                              17
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.580 Filed 09/25/20 Page 18 of 65




                    Defendants Used Chokeholds Against Demonstrators

        136. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        137. Defendants deny the allegations as stated in this Paragraph as untrue.

        138. Defendants deny the allegations as stated in this Paragraph as untrue.

        139. Defendants deny the allegations as stated in this Paragraph as untrue.

        140. Defendants deny the allegations as stated in this Paragraph as untrue.

        141. Defendants deny the allegations as stated in this Paragraph as untrue.

        142. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        143. Defendants deny the allegations as stated in this Paragraph as untrue.

        144. Defendants deny the allegations as stated.

        145. Defendants deny the allegations as stated.

        146. Defendants deny the allegations as stated.

           Defendants Drove Police Vehicles Into Crowds and Demonstrators

        147. Defendants deny the allegations as stated in this Paragraph as untrue.




                                              18
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.581 Filed 09/25/20 Page 19 of 65




        148. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        149. Defendants deny the allegations as stated in this Paragraph as untrue.

        150. Defendants deny the allegations as stated in this Paragraph as untrue.

        151. Defendants deny the allegations as stated in this Paragraph as untrue.

        152. Defendants deny the allegations as stated in this Paragraph as untrue.

        153. Defendants deny the allegations as stated in this Paragraph as untrue.

        154. Defendants deny the allegations as stated in this Paragraph as untrue.

        155. Defendants deny the allegations as stated in this Paragraph as untrue.

        156. Defendants deny the allegations as stated in this Paragraph as untrue.

        157. Defendants deny the allegations as stated in this Paragraph as untrue.

        158. Defendants deny as stated and as untrue all allegations in this

Paragraph.

        159. Defendants deny as stated and as untrue all allegations in this

Paragraph.

        160. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.




                                              19
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.582 Filed 09/25/20 Page 20 of 65




        161. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        162. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required. Defendants deny as untrue any reading of the

allegations contained in this Paragraph that imply unlawful conduct by Defendants.

        163. Defendants deny as untrue and as stated all allegation contained in this

Paragraph.

        164. Defendants deny as untrue and as stated the allegations contained in

this Paragraph.

        165. Defendants are without knowledge or information to form a belief as to

the truth of whether or not Plaintiff M. Henige attended a protest on July 10, 2020.

Defendants deny as untrue any allegation not specifically admitted.

        166. Defendants deny the allegations as stated in this Paragraph as untrue.

        167. Defendants deny the allegations as stated in this Paragraph as untrue.

        168. Defendants deny the allegations as stated in this Paragraph as untrue.

        169. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        170. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              20
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.583 Filed 09/25/20 Page 21 of 65




        171. Defendants deny the allegations as stated in this Paragraph as untrue.

        172. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        173. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        174. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        175. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        176. Defendants deny as stated the allegations contained in this Paragraph.

        177. Defendants are without knowledge or information sufficient to form a

belief as to the truth of whether or not Plaintiff C. Arnold attended the protest on

August 22-23, 2020. Defendants deny as stated any allegation not specifically

admitted.

        178. Defendants deny the allegations as stated in this Paragraph as untrue.

        179. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              21
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.584 Filed 09/25/20 Page 22 of 65




        180. Defendants deny the allegations as stated in this Paragraph as untrue.

        181. Defendants deny the allegations as stated in this Paragraph as untrue.

        182. Defendants deny the allegations as stated in this Paragraph as untrue.

 Defendants Deployed a Long Range Acoustic Device (LRAD) to Injure and Deter
                               Demonstrators

        183. Defendants deny as stated the allegations contained in this Paragraph.

        184. This Paragraph raises no factual allegations against Defendants, and

therefore, a response is not required.

        185. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        186. Defendants deny the allegations as stated in this Paragraph as untrue.

        187. Defendants deny the allegations as stated in this Paragraph as untrue.

        188. Defendants deny as untrue and as stated the allegations in this

Paragraph. .

        189. Defendants deny as untrue and as stated the allegations contained in

this Paragraph.

        190. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        191. Defendants deny the allegations as stated in this Paragraph as untrue.

                                              22
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.585 Filed 09/25/20 Page 23 of 65




        192. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        193. Defendants deny the allegations as stated in this Paragraph as untrue.

        194. Defendants deny the allegations as stated in this Paragraph as untrue.

        195. Defendants admit that they instructed demonstrators to leave the scene

and to “Please go home.” Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this Paragraph

not specifically admitted to and accordingly leave Plaintiffs to their proofs.

        196. Defendants deny the allegations as stated in this Paragraph as untrue.

        197. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations that Plaintiff L. Ellis attended a protest on

June 2, 2020. Defendants deny as untrue the remaining allegations.

        198. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations regarding Plaintiffs L. Rosen and L. Ellis.

Defendants deny as untrue any allegation not specifically admitted.

        199. Defendants deny as untrue and as stated the allegations contained in

this paragraph.

        200. Defendants deny the allegations as stated in this Paragraph as untrue.

        201. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              23
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.586 Filed 09/25/20 Page 24 of 65




        202. Defendants deny the allegations as stated in this Paragraph as untrue.

        203. Defendants deny the allegations as stated in this Paragraph as untrue.

        204. Defendants deny as untrue and as stated the allegations contained in

this Paragraph.

        205. Defendants deny the allegations as stated and as untrue in this

Paragraph.

        206. Defendants deny the allegations as stated in this Paragraph.

        207. Defendants deny the allegations as stated in this Paragraph as untrue.

        208. Defendants deny as stated and as untrue the allegations contained in

this Paragraph.

        209. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph not specifically

admitted to and accordingly leave Plaintiffs to their proofs.

   Defendants Restrained Demonstrators with Intentionally Tightened Zip Ties to
                        Cause Injury and Deter Protests

        210. Defendants deny the allegations as stated in this Paragraph as untrue.

        211. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        212. Defendants deny the allegations as stated in this Paragraph as untrue.

        213. Defendants deny the allegations as stated in this Paragraph as untrue.

                                              24
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.587 Filed 09/25/20 Page 25 of 65




        214. Defendants deny the allegations as stated in this Paragraph as untrue.

        215. Defendants deny the allegations as stated in this Paragraph as untrue.

        216. Defendants deny the allegations as stated in this Paragraph as untrue.

        217. Defendants deny the allegations as stated in this Paragraph as untrue.

        218. Defendants deny the allegations as stated in this Paragraph as untrue.

        219. Defendants deny the allegations as stated in this Paragraph as untrue.

        220. Defendants admit the statement.

        221. Defendants deny the allegations as stated in this Paragraph as untrue.

        222. Defendants deny the allegations as stated.

        223. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        224. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        225. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.




                                              25
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.588 Filed 09/25/20 Page 26 of 65




        226. Defendants admit that on August 22, 2020, Plaintiffs C. Arnold, T.

Taylor, and N. Wallace were arrested. Defendants deny as stated and as untrue the

remaining allegations.

        227. Defendants deny the allegations as stated in this Paragraph as untrue.

        228. Defendants deny the allegations as stated in this Paragraph as untrue.

    Defendants Detained Demonstrators in Punitive, Unnecessary, and Tortuous
                                 Conditions

        229. Defendants deny as untrue and as stated all allegations contained in this

Paragraph.

        230. Defendants admit that T. Taylor was arrested on June 2/3 for inciting a

riot and disorderly conduct. Defendants deny as untrue any allegation not

specifically admitted.

        231. Defendants deny the allegations as stated in this Paragraph as untrue.

        232. Defendants deny the allegations as stated in this Paragraph as untrue.

        233. Defendants admit that Plaintiff J. Bass was arrested on June 3, 2020.

Defendants deny as untrue any allegation not specifically admitted.

        234. To the extent that this Paragraph fails to raise a factual allegation

against Defendants, a response is not required. To the extent that a response is

required, Defendants deny the allegations as stated in this Paragraph as untrue.

        235. Defendants deny the allegations as stated in this Paragraph as untrue.

        236. Defendants deny the allegations as stated in this Paragraph as untrue.

                                              26
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.589 Filed 09/25/20 Page 27 of 65




        237. Defendants admit that T. Taylor, N. Wallace, L. Ellis, M. Henige, C.

Arnold, and A. Nahabedian were arrested on August 23, 2020. Defendants deny as

stated any allegation not specifically admitted.

        238. Defendants deny the allegations as stated in this Paragraph as untrue.

        239. Defendants deny the allegations as stated in this Paragraph as untrue.

        240. Defendants deny the allegations as stated in this Paragraph as untrue.

        241. Defendants deny the allegations as stated in this Paragraph as untrue.

    Defendants Arrested Demonstrators En Masse Without Probable Cause in an
                   Attempt to Silence and Deter Demonstrators

        242. Defendants admit that T. Taylor was arrested June 2/3, 2020; July 10,

2020; and August 23, 2020. Defendants admit that N. Wallace was arrested on July

10, 2020 and August 23, 2020. Defendants admit that J. Bass was arrested on June

3, 2020 and July 23, 2020. Defendants admit that Z. Kolodziej was arrested on July

10, 2020. Defendants admit that L. Ellis was arrested on June 3, 2020 and August

23, 2020.        Defendants admit that M. Henige was arrested August 23, 2020.

Defendants admit that C. Arnold was arrested August 23, 2020. Defendants admit

Amy Nahabedian was arrested August 23, 2020. Defendants deny as untrue any

allegation not specifically admitted.

        243. Defendants admit that T. Taylor was arrested on June 2/3, 2020; July

10, 2020; and August 23, 2020. Defendants admit that N. Wallace was arrested on

July 10, 2020 and August 23, 2020. Defendants admit that J. Bass was arrested on

                                              27
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.590 Filed 09/25/20 Page 28 of 65




June 3, 2020 and July 23, 2020. Defendants deny as untrue any allegation not

specifically admitted.

        244. Defendants deny as stated the allegations contained in this Paragraph.

        245. Defendants admit that T. Taylor was arrested on June 2/3, 2020.

Defendants admit Plaintiff J. Bass was arrested on June 3, 2020. Defendants admit

that L. Ellis was arrested on June 3, 2020. Defendants deny as untrue any allegation

not specifically admitted.

        246. Defendants deny the allegations as stated in this Paragraph as untrue.

        247. Defendants admit Plaintiff T. Taylor was arrested on June 2/3, 2020.

Defendants deny as untrue any allegation not specifically admitted.

        248. Defendants admit Plaintiff T. Taylor was arrested on July 10, 2020.

Defendants deny as untrue any allegation not specifically admitted.

        249. Defendants admit Plaintiff N. Wallace was arrested on July 10, 2020.

Defendants deny as untrue any allegation not specifically admitted.

        250. Defendants admit Plaintiffs T. Taylor, N. Wallace, A. Nahabedian, M.

Henige, and L. Ellis were arrested on August 23, 2020. Defendants deny as untrue

any allegation not specifically admitted.

        251. Defendants deny the allegations as stated in this Paragraph as untrue.

        252. Defendants deny the allegations as stated in this Paragraph as untrue.

        253. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              28
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.591 Filed 09/25/20 Page 29 of 65




        254. Defendants deny the allegations as stated in this Paragraph as untrue.

               The City’s Policy, Practice, and Custom (Monell Allegations)

        255. Defendants admit that Plaintiffs’ claims against Defendants Mayor

Duggan and Chief Craig are brought against them in their official capacities pursuant

to Monell v. Department of Social Services, 436 U.S. 658 (1978), but deny as untrue

all claims that Defendants are liable to Plaintiffs in any way. Defendants deny as

untrue any allegation not specifically admitted.

        256. Defendants deny the allegations as stated in this Paragraph as untrue.

        257. Defendant neither admit nor deny the allegations set forth in this

Paragraph because the allegations call for a legal conclusion for which no answer is

required.

        258. Defendants deny the allegations as stated in this Paragraph as untrue.

        259. Defendants deny the allegations as stated in this Paragraph as untrue.

        260. Defendants deny the allegations as stated in this Paragraph as untrue.

        261. Defendants deny the allegations as stated in this Paragraph as untrue.

        262. Defendants deny the allegations as stated in this Paragraph as untrue.

        263. Defendants deny the allegations as stated in this Paragraph as untrue.

        264. Defendants deny the allegations as stated in this Paragraph as untrue.

        265. Defendants deny the allegations as stated in this Paragraph as untrue.

        266. Defendants deny the allegations as stated in this Paragraph as untrue.


                                              29
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.592 Filed 09/25/20 Page 30 of 65




        267. Defendants deny as untrue any implication that Chief Craig condones

or encourages unconstitutional conduct by members of the DPD. Defendants deny

the remaining allegations as stated in this Paragraph.

        268. Defendants admit that Deputy Chief Todd Bettsion said “To Detroit

Will Breathe: You're not welcome. Go,” after protestors engaged in unlawful and

violent behavior on August 22-23, 2020. Defendants deny as untrue any allegation

not specifically admitted.

        269. Defendants deny the allegations as stated in this Paragraph as untrue.

        270. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        271. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        272. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        273. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.


                                              30
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.593 Filed 09/25/20 Page 31 of 65




        274. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

  Plaintiffs Seek Injunctive Relief because Defendants’ Actions Have Caused and
                              Continue to Cause Harm

        275. Defendants deny the allegations as stated in this Paragraph as untrue.

        276. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        277. Defendants deny the allegations as stated in this Paragraph as untrue.

        278. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        279. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        280. Defendants admit that Plaintiffs seek injunctive relief. Defendants deny

as untrue that Plaintiffs are entitled to the relief sought. Defendants deny as untrue

any other allegation as stated.

        281. Defendants deny the allegations as stated in this Paragraph as untrue.



                                              31
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.594 Filed 09/25/20 Page 32 of 65




        282. Defendants admit that Plaintiffs seek relief against all Defendants.

Defendants deny as untrue that Plaintiffs are entitled to the relief sought. Defendants

deny as untrue any other allegation as stated.

                                      COUNT I
                   First Amendment to the United States Constitution:
                              Free Speech and Assembly
                                   42 U.S.C. § 1983

        283. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 282, as if fully set forth in this Paragraph.

        284. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        285. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        286. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        287. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.



                                              32
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.595 Filed 09/25/20 Page 33 of 65




        288. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        289. Defendants deny the allegations as stated in this Paragraph as untrue.

        290. Defendants deny the allegations as stated in this Paragraph as untrue.

        291. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

                                     COUNT II
                  Fourth Amendment to the United States Constitution:
                          Unreasonable and Excessive Force
                                  42 U.S.C. § 1983

        292. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 291, as if fully set forth in this Paragraph.

        293. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        294. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.




                                              33
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.596 Filed 09/25/20 Page 34 of 65




        295. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        296. Defendants deny the allegations as stated in this Paragraph as untrue.

        297. Defendants deny the allegations as stated in this Paragraph as untrue.

        298. Defendants deny the allegations as stated in this Paragraph as untrue.

        299. Defendants deny the allegations as stated in this Paragraph as untrue.

        300. Defendants deny the allegations as stated in this Paragraph as untrue.

        301. Defendants deny the allegations as stated in this Paragraph as untrue.

        302. Defendants deny the allegations as stated in this Paragraph as untrue.

        303. Defendants deny the allegations as stated in this Paragraph as untrue.

        304. Defendants deny the allegations as stated in this Paragraph as untrue.

        305. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

                                     COUNT III
                  Fourth Amendment to the United States Constitution:
                           Arrests Without Probable Cause
                                   42 U.S.C. § 1983

        306. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 305, as if fully set forth in this Paragraph.



                                              34
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.597 Filed 09/25/20 Page 35 of 65




        307. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.

        308. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        309. Defendants deny the allegations as stated in this Paragraph as untrue.

        310. Defendants deny the allegations as stated in this Paragraph as untrue.

        311. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.




                                       COUNT IV
                  Fourth Amendment to the United States Constitution:
                    False Imprisonment/Conditions of Confinement/
                          Failure to Provide Medical Attention

        312. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 311, as if fully set forth in this Paragraph.

        313. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proofs.


                                              35
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.598 Filed 09/25/20 Page 36 of 65




        314. Defendants deny the allegations as stated in this Paragraph as untrue.

        315. Defendants deny the allegations as stated in this Paragraph as untrue.

        316. Defendants deny the allegations as stated in this Paragraph as untrue.

        317. Defendants deny the allegations as stated in this Paragraph as untrue.

        318. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        319. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        320. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

                                   COUNT V
      First, Fourth, Fifth and Fourteenth Amendments to the United States
                                  Constitution:
                   Free Speech and Assembly/Curfew Orders

        321. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 320, as if fully set forth in this Paragraph.

        322. Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in this Paragraph and accordingly

leave Plaintiffs to their proof.

                                              36
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.599 Filed 09/25/20 Page 37 of 65




        323. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        324. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        325. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        326. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

                                            COUNT VI
                                   42 U.S.C. § 1981—Retaliation

        327. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 326, as if fully set forth in this Paragraph.

        328. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.




                                                37
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.600 Filed 09/25/20 Page 38 of 65




        329. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        330. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        331. Defendants deny the allegations as stated in this Paragraph as untrue.

        332. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        333. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        334. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

                                                COUNT VII
                                              42 U.S.C. § 1983
                                              Monell Liability

        335. Defendants re-allege and incorporate, by reference, their answers and

denials to Paragraphs 1 through 334, as if fully set forth in this Paragraph.


                                                     38
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.601 Filed 09/25/20 Page 39 of 65




        336. Defendants deny the allegations as stated in this Paragraph as untrue.

        337. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        338. Defendants deny the allegations as stated in this Paragraph as untrue.

        339. Defendants deny the allegations as stated in this Paragraph as untrue.

        340. Defendants deny the allegations as stated in this Paragraph as untrue.

        341. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        342. This Paragraph attempts to set forth a legal conclusion, to which a

response is not required. To the extent a response is required, Defendants deny as

untrue any allegations as stated.

        In answer to Plaintiff’s Wherefore Paragraph, Defendants deny Plaintiffs are

entitled to any relief whatsoever.

        WHEREFORE, Defendants respectfully requests that this Honorable Court

dismiss Plaintiffs’ Complaint in its entirety, with prejudice, and award Defendants

their costs and attorney fees and any other equitable relief deemed just and

appropriate.




                                              39
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.602 Filed 09/25/20 Page 40 of 65




                       DEFENDANTS’ AFFIRMATIVE DEFENSES
                           TO PLAINTIFFS’ COMPLAINT

        Defendants, by their attorneys, Clark Hill PLC and Lawrence García, state

for their Affirmative Defenses to Plaintiffs’ Complaint, as follows:

         1.       Plaintiffs’ Complaint fails to state a claim upon which relief can be

 granted.

         2.       Plaintiff Detroit Will Breathe lacks standing to bring this action against

 Defendants.

         3.       Plaintiffs, collectively, have been misjoined in this case, as Plaintiffs

 cannot establish that their claims arise out of the same transaction, occurrence, or

 series of transactions or occurrences or that they share a common question of law

 or fact.

         4.       Plaintiffs’ claims are barred by the application of qualified immunity,

 absolute immunity, or other immunity provided by federal law and state law.

         5.       One or more of Plaintiffs’ claims is barred, as Plaintiffs have failed to

 exhaust available judicial and administrative remedies.

         6.       Plaintiffs have suffered no irreparable harm and have a complete and

 adequate remedy at law for money damages, if any, and therefore, Plaintiffs are not

 entitled to injunctive relief.

         7.       The acts upon which Plaintiffs’ Complaint is based were based upon

 reasonable suspicion, probable cause, Plaintiffs’ consent, or other proper legal

                                              40
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.603 Filed 09/25/20 Page 41 of 65




 standard to believe that Plaintiffs were subject to lawful seizure, were commanded

 or authorized by law, and were done in a reasonable and lawful manner under the

 circumstances such that Defendants are immune from liability in this action.

           8.     The alleged use of force, if any, was privileged, reasonable and

 appropriate under the common law, federal law, and statute statutes.

           9.     The actions of Defendants with respect to the Plaintiffs were taken in

 good faith and in response to the legitimate safety requirements of the situation and

 not motivated by the Plaintiffs’ alleged exercise of First Amendment rights.

 Defendants had justification for any of the actions complained of in Plaintiffs’

 Complaint.

           10.    The acts upon which Plaintiffs’ Complaint were made were privileged,

 in that the acts were necessary to secure important governmental and public interests

 relative to public safety and welfare, there was a need for prompt action because of

 exigent circumstances, and Defendants attempted to minimize any risk of wrongful,

 erroneous or unnecessary deprivation of life, liberty, property, or any constitutional

 rights.

           11.    Defendants had justification for any of the actions complained of in

 Plaintiffs’ Complaint.

           12.    Defendants’ actions were justified by Plaintiffs’ actions, or the actions

 of others over whom the Defendants had no control.


                                              41
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.604 Filed 09/25/20 Page 42 of 65




         13.      Plaintiffs’ injuries or damages, if any, were caused, contributed to, or

 brought about by Plaintiffs’ own intentional, negligent, unlawful, unreasonable,

 and/or illegal acts or the acts of others over whom Defendants exercise no right or

 dominion or control for whose actions Defendants are not legally responsible.

         14.      To the extent that Plaintiffs seek to impose liability based upon

 municipal or official capacity claims, Plaintiffs have failed to allege any facts in

 support of a custom, policy, practice, or procedure which resulted in any

 constitutional violation claim by Plaintiffs.

         15.      Defendant City of Detroit alleges that the City of Detroit through its

 policy-making officials, has no historical policy of deliberate indifference to

 unlawful arrest, excessive force, curtailing First Amendment rights, First

 Amendment retaliation, or deprivation of due process by Detroit Police Department

 officers and that all training and policies fulfill or exceed constitutional

 requirements.

         16.      Except as to the amount of damages, there is no genuine issue of

 material fact and Defendants are entitled to judgment as a matter of law.

         17.      Plaintiffs failed to mitigate their damages, if any.

         18.      Plaintiffs assumed the risk of injury from their acts and omissions.




                                              42
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.605 Filed 09/25/20 Page 43 of 65




         19.      Plaintiffs are not entitled to punitive or exemplary damages for claims

 brought pursuant to 42 U.S.C. §1983 which are premised upon the official liability

 of any defendant.

         20.      Defendant City of Detroit is a municipality and therefore is not liable

 for punitive damages, if any, under applicable law.

         21.      Defendant City of Detroit is not vicariously liable for the acts of any

 individual Defendants or liable for the acts of individual defendants pursuant to 42

 U.S.C. §1983 under theories of derivative liability such as respondeat superior.

         22.      Plaintiffs’ claims, including any claims for damages, are barred by

 Plaintiffs’ own conduct, misrepresentations and/or malfeasance.

         23.      Some or all of Plaintiffs’ allegations constitute misrepresentations to

 the Court in violation of Fed. R. Civ. P. 11.

         24.      Plaintiffs have initiated suit without first performing a reasonable

 investigation in order to determine whether there is plausible factual support for the

 allegations made; therefore, Defendants request that this Court tax reasonable and

 actual attorney’s fees and costs as sanctions.

         25.      Defendants do not waive any of the affirmative defenses delineated in

 the court rules and expressly reserve their right to assert any of these defenses to the

 extent further factual investigation discloses their applicability.




                                              43
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.606 Filed 09/25/20 Page 44 of 65




         26.      Defendants reserve the right to add any additional affirmative defenses

 that may become known to them during the course of discovery or otherwise.


           DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFFS

        Defendants/Counter-Plaintiffs, by and through their attorneys, Clark Hill PLC

and Lawrence Garcia, for their Counterclaim against Plaintiffs/Counter-Defendants

state as follows:

                                  JURISDICTION AND VENUE

        1.       This Court has subject matter jurisdiction over the Plaintiffs’/Counter-

Defendants’ claims pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. §

1343 (civil rights jurisdiction).

        2.       This       Court        has   subject   matter   jurisdiction   over   the

Defendants’/Counter-Plaintiffs’ counterclaims pursuant to 28 U.S.C. § 1367(a)

providing for supplemental jurisdiction.

        3.       Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391, as most or all events giving rise to the claims herein occurred in the

Eastern District of Michigan.

                                               PARTIES

        4.       By information and belief, Counter-Defendant Detroit Will Breathe

(“DWB”) is a domestic nonprofit corporation organized under the laws of the State

of Michigan.

                                                  44
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.607 Filed 09/25/20 Page 45 of 65




        5.       By information and belief, Counter-Defendants Tristan Taylor, Nakia

Wallace, Jazten Bass, Lauren Rosen, Lauryn Brennan, Amy Nahabedian, Zachary

Kolodziej, Lauren Branch (“Graham Branch”), Lillian Ellis, Olivia Puente, Iman

Saleh, Margaret Henige, Caylee Arnold, and Alexander Anest, are all individuals

and residents of Michigan (Detroit, Oak Park, Highland Park, Saline, Ypsilanti,

Dearborn), and each has participated in, organized, held membership in, and/or led

one or more demonstrations of DWB in 2020.

        6.       Counter-Plaintiff City of Detroit is a municipal corporation duly

organized and existing under the Constitution and laws of the State of Michigan. It

is, and has been at all times relevant hereto, authorized by law to maintain and

operate the Detroit Police Department (“DPD”).

        7.       Counter-Plaintiff Mayor Michael Duggan is and was, at all relevant

times, the Mayor of Detroit and an official policymaker for Defendant City of

Detroit.

        8.       Counter-Plaintiff Chief James Craig is and was, at all relevant times,

the Police Chief for the Detroit Police Department, an official policymaker for DPD.

        9.       Counter-Plaintiff Officers Stephen Anouti, David Hornshaw, and

Mariah Erard are police officers with the DPD residing in Wayne County, Michigan.

        10.      Counter-Plaintiff Sergeant Timothy Barr is a police sergeant with the

DPD residing in Wayne County, Michigan.


                                              45
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.608 Filed 09/25/20 Page 46 of 65




        11.      Counter-Plaintiffs Officers Doe 1 through 100 are agents, servants, and

employees of the DPD.

                                    FACTUAL BACKGROUND

        12.      Since May 29, 2020, hundreds of people in Detroit, including Counter-

Defendants, have participated in near-daily demonstrations as part of the “Black

Lives Matter” movement.

        13.      While Counter-Defendants have attempted to characterize their protests

as “peaceful,” the protests in Detroit have repeatedly turned violent, endangering the

lives of police and the public.

        14.      Counter-Defendants have been captured on video hurling dangerous

projectiles at police officers, blocking busy streets and school buses, encouraging

violent behavior, screaming loudly in the faces of DPD officers, refusing to follow

clear and lawful DPD directives and destroying and defacing public property.

        15.      In addition to engaging in these violent actions, Counter-Defendants

have published numerous false statements about Counter-Plaintiff Mayor Michael

Duggan, Counter-Plaintiff Chief James Craig, and Counter-Plaintiffs Detroit Police

Officers.

        16.      Counter-Defendants have also used their social media accounts,

including Twitter, Facebook, and Instagram, to post videos and other content




                                              46
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.609 Filed 09/25/20 Page 47 of 65




encouraging violence or endorsing violence against police officers, promoting the

destruction and defacing of property, and disrupting the lives of Detroit residents.

                               Organization and Coordination Efforts

        17.      Counter-Defendant Detroit Will Breathe was incorporated, in part, for

the purpose of militant resistance.

        18.      Counter-Defendant Nakia Wallace is the incorporator of DWB and

member of DWB.

        19.      Counter-Defendant Tristan Taylor is a member of DWB.

        20.      Counter-Defendant Jazten Bass is a member of DWB.

        21.      Counter-Defendant DWB has a Facebook account to communicate with

its members. DWB uses the Facebook account to share information about protests it

organizes, meetings it holds, tactics it has and will use to effectuate its mission, and

to publish news articles. DWB also posts video footage of its protests and marches,

as well as videos of individual members speaking about the group and its goals.

        22.      Counter-Defendant DWB has a Twitter account and an Instagram

account that it uses to communicate with its members. DWB uses this Twitter

account in a similar manner to its Facebook account.

        23.      Some of these videos show speakers encouraging violence or endorsing

violence against police officers, promoting the destruction and defacing of property,

and disrupting the lives of Detroit residents.


                                                47
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.610 Filed 09/25/20 Page 48 of 65




        24.      For example, DWB shared a video of a protestor telling other protestors

that “non-violence is no longer their shield or the answer.” He then called on fellow

protestors to take police “badges and teeth.”

        25.      By way of another example, Counter-Defendant Nakia Wallace, was

interviewed on Fox 2 about the protests.

        26.      During the interview, when asked, “Is it fair to say that Detroit Will

Breathe does not condone violence in achieving its policy goals,” Counter-

Defendant Wallace stated publicly, “I don’t think there’s a space for Detroit to…not

condone violence, right? People are angry and are going to express that anger…

What we’re never going to do is tell young people who are passionate and who are

upset and who are angry that they don’t have a right to be angry and they don’t have

a right to express that anger.”

                                        Protests on May 29, 2020

        27.      On May 29, 2020, a protest was held in response to the death of George

Floyd.

        28.      Upon information and belief, Counter-Defendants, including (but not

limited to) T. Taylor, Z. Kolodziej, and G. Branch, attended the May 29, 2020

protest.




                                                  48
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.611 Filed 09/25/20 Page 49 of 65




        29.      The protest on May 29, 2020 turned violent, with protestors throwing

rocks and projectiles at police officers.

        30.      Multiple DPD officers sustained physical injuries as a result of the

hurled objections. DPD officers also sustained injuries in the course of trying to

detain protestors, including Counter-Defendants who resisted arrest and defied

police orders.

                                        Protests on May 31, 2020

        31.      On May 31, 2020, Mayor Duggan issued a state of emergency and

implemented an 8 pm curfew to ensure public safety.

        32.      Despite this, a protest was held on the evening on of May 31, 2020.

        33.      Counter-Defendants, including (but not limited to) L. Ellis and A.

Nahabedian attended this protest.

        34.      DPD officers at the scene of the protest issued Counter-Defendants

eight warnings to disperse that were projected over a loud speaker.

        35.      At least three warnings alerted protestors that tear gas would be

deployed if the protestors did not disperse.

        36.      Counter-Defendants did not disperse after the warnings.

        37.      Protestors hurled dangerous objects, including rocks and missiles at

DPD officers.




                                                  49
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.612 Filed 09/25/20 Page 50 of 65




        38.      Multiple DPD officers sustained physical injuries as a result of the

hurled objections. DPD officers also sustained injuries in the course of trying to

detain protestors, including Counter-Defendants who resisted arrest and defied

police orders.

                                         Protest on June 2, 2020

        39.      On June 2, 2020, protestors gathered for another night of protests

against DPD officers. Upon information and belief, Counter-Defendants, including

(but not limited to) T. Taylor, J. Bass, L. Ellis, L. Rosen attended the June 2, 2020

protest.

        40.      Protestors, including Counter-Defendants were gathered in the street in

the evening after the curfew went into effect.

        41.      DPD officers on the scene announced to protestors multiple times that

they needed to get out of the road.

        42.      DPD officers on the scene further announced to Counter-Defendants

that their behavior no longer constituted a lawful assembly, that they were in

violation of the curfew and that protestors needed to get out of the road.

        43.      Officers plead with protestors, “Please go home” and “We don’t want

this to escalate,” and gave protestors adequate time to disperse and get out of the

road.




                                                   50
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.613 Filed 09/25/20 Page 51 of 65




        44.      Protestors were warned that if they did not follow the lawful directive

to get out of the street, they would be arrested.

        45.      DPD officers issued at least 7 lawful directives to leave the street.

        46.      Protestors, including Counter-Defendants, remained in the middle of

the street shouting as a group in direct violation of the officers’ lawful directives.

        47.      Counter-Defendant T. Taylor was arrested for Inciting to Riot (MCL

752.542) and Disorderly Conduct (MCL 750.167) in relation to the June 2 protest.

        48.      Counter-Defendant J. Bass was arrested for Disorderly Conduct in

relation to the June 2 protest.

        49.      Counter-Defendant L. Ellis was arrested for Disorderly Conduct and

Disturbing the Peace in relation to the June 2 protest.

                                        Protest on June 28, 2020

        50.      June 28, 2020, Counter-Defendant DWB organized a protest to be held

in Southwest Detroit.

        51.      Information about this protest was shared on the DWB Facebook page.

        52.      On June 28, 2020, DPD officers arrived at a demonstration to ensure it

remained peaceful and non-dangerous.

        53.      A number of protestors, including Counter-Defendants, approached a

DPD vehicle and started screaming at the officers inside.




                                                  51
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.614 Filed 09/25/20 Page 52 of 65




        54.      Counter-Defendant Jazten Bass jumped onto the hood of the vehicle,

sitting and banging on it.

        55.      The vehicle did not move through the crowd until it was completely

surrounded.

        56.      Protestors’, including Counter-Defendants’ actions, were threatening to

DPD officers.

        57.      In addition to these threats, a DPD police vehicle was damaged by the

protestors.

        58.      On June 28, 2020, after the protest concluded, Counter-Defendant

Jazten Bass falsely stated on his public Facebook account, “THIS COP TRIED TO

KILL ME AND OTHERS TONIGHT!!!!! FIRE AND JAIL HIM FOR ATTEMPT

VEHICULAR MAN SLAUGHTER!!!!” after Bass jumped on the hood of the police

vehicle and sat and banged on it.

                                         Protest on July 10, 2020

        59.      Counter-Defendant DWB organized a protest on July 10, 2020 in

response to the shooting of Hakim Littleton.

        60.      Counter-Defendant DWB immediately solicited protestors, including

Counter-Defendants, to participate in the protest.

        61.      As part of their solicitation efforts, DWB tweeted, “RAPID

RESPONSE CALL TO ACTION: Detroit Police Department killed a 19 year old


                                                   52
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.615 Filed 09/25/20 Page 53 of 65




today. Our planned march is cancelled so that the movement can respond to the

injustice! Get to 7446 McNichols Rd. as soon as you can!”

        62.      Protestors, including Counter-Defendants, gathered at the intersection

of McNichols and San Juan.

        63.      Upon information and belief, Counter-Defendants (including, but not

limited to) T. Taylor, N. Wallace, L. Brennan, Z. Kolodziej, O. Puente, and M.

Henige attended the July 10 protest.

        64.      DPD officers ordered protestors, including Counter-Defendants, to “get

back” and to disperse.

        65.      Protestors, including Counter-Defendants did not follow this directive

from officers.

        66.      Protestors threw objects, including rocks, bleach, and other projectiles

at DPD officers.

        67.      Counter-Defendant Z. Kolodziej was one of the Counter-Defendants

who defied the police order to get back.

        68.      When he was told to get back by DPD officers, Counter-Defendant

Kolodziej instead lunged forward towards officers and yelled, “Fuck you!”

        69.      Officers tried to restrain Counter-Defendant Kolodziej while having

objects, including glass bottles, hurled at them.




                                              53
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.616 Filed 09/25/20 Page 54 of 65




        70.      Counter-Defendant Kolodziej broke loose and again came towards

officers, appearing to “head-butt” the restraining officer.

        71.      Counter-Defendant Kolodziej was then restrained on the ground.

        72.      An officer instructed Kolodziej to put his hands behind his back.

        73.      Counter-Defendant Kolodziej refused the order, yelling “Fuck you!

Fuck you, motherfucker! Fuck you!”

        74.      DPD officers issued Counter-Defendant N. Wallace an order to back

up and get out of the road.

        75.      Counter-Defendant Wallace refused to comply with the order. Instead,

Counter-Defendant Wallace continued to stand in the road and screamed at DPD

officers.

        76.      Because of her refusal to comply, a DPD officer attempted to take

Counter-Defendant Wallace down using two arms.

        77.      Counter-Defendant Wallace flailed her arms and pushed backwards on

the officer.

        78.      As a result of Counter-Defendant Wallace’s movement, the Officer

taking Counter-Defendant Wallace down lost her hold, which caused her arms to

momentarily touch Wallace’s neck.

        79.      Counter-Defendant Puente was told by DPD officers to move back.




                                              54
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.617 Filed 09/25/20 Page 55 of 65




        80.      Counter-Defendant Puente, standing directly in front of a DPD officer

refused the directive to move back.

        81.      Instead, Puente pushed against a DPD officer’s protective shield.

        82.      Counter-Defendant M. Henige also refused police orders to disperse

and get back.

        83.      Multiple DPD officers sustained physical injuries as a result of the

hurled objections. DPD officers also sustained injuries in the course of trying to

detain protestors, including Counter-Defendants who resisted arrest and defied

police orders.

        84.      Counter-Defendant T. Taylor was arrested for Disorderly Conduct and

Disturbing the Peace on July 10, 2020 for his behavior at the protest.

        85.      Counter-Defendant Z. Kolodziej was arrested for Disorderly Conduct

and Disturbing the Peace on July 10, 2020 for his behavior at the protest.

        86.      Counter-Defendant N. Wallace was arrested for Disorderly Conduct

and Disturbing the Peace on July 10, 2020 for her behavior at the protest.

                             Aftermath of the Protest on July 10, 2020

        87.      On July 10, 2020, Counter-Defendant Detroit Will Breathe falsely

posted on their Instagram account, “City councilmembers have been holding up a

resolution to drop all charges against protestors for nearly a month. This delay tells

us . . . that Mayor Duggan and Chief Craig want them to kill the resolution. . .”


                                                55
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.618 Filed 09/25/20 Page 56 of 65




        88.      In Mid-July 2020, Counter-Defendant Nakia Wallace falsely accused

Counter-Plaintiffs Chief Craig and Detroit police officers of “lying on stand” on her

public Facebook page and further stated, “Why can [Detroit police officers] run over

protestors? . . . CRAIG HAS TO GO!!!!!”

        89.      On July 12, 2020, Counter-Defendant Nakia Wallace continued to

make public false statements when she stated at a press conference at the Frank

Murphy Hall of Justice that she had been placed in a chokehold on July 10, 2020.

        90.      On July 18, 2020, Counter-Defendant DWB member Yusef Shaku

falsely stated at a press conference prior to a vigil for Hakim Littleton, “How can

you represent a city that is 85% black when you have an officer treating Detroiters

as if this is the wild, wild west. But it makes sense in terms of what Chief Craig said

a couple years ago ‘people just get your guns and just start shooting.’ This is the

mentality of his officers. This is what they embody. That is unacceptable.”

        91.      During this same press conference on July 18, 2020, another DWB

member egregiously stated, “Hakim . . . suffered from the traumas of the police being

an operating terroristic force in our neighborhood.”’

        92.      On July 24, 2020, Counter-Defendant Nakia Wallace falsely

characterized Counter-Plaintiff officers by posting on her public Twitter account, “I

can’t for the life of me understand the type of person who has not yet woken up to

understand the murderous and brutal nature of the Detroit Police Department.”


                                              56
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.619 Filed 09/25/20 Page 57 of 65




        93.      On July 28, 2020, Lloyd Simpson, one of Counter-Defendant DWB’s

organizers, falsely stated at a press conference on the front lawn of a house on the

city’s west side, “In two of the cases, the victims shot by the police were on the

ground when they were shot. Edited body cam footage clearly shows the young man

(in the July 23 incident) never having been in position to fire the weapon.”

        94.      Yet, with respect to both shootings, police body cam footage previously

released to the public showed that the men were not on the ground when police first

shot.

        95.      With respect to the first shooting on July 10, 2020, body cam footage

released the same day, shows the man fire a gun at an officer before police shot him.

        96.      During the press conference on July 28, 2020, TV Reporter Shawn Ley

exposed the prevarications spread by Detroit Will Breathe as he questioned the

accuracy of Mr. Simpson’s statement, which he noted “does not match up with the

video put out by Detroit police.”

        97.      While Plaintiff Taylor admits that Detroit Will Breathe has a

responsibility to put out accurate information and that the group’s message was

“unclear,” he failed to retract his mischaracterizations which misled people into

protesting under false pretenses.




                                              57
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.620 Filed 09/25/20 Page 58 of 65




        98.      Counter-Plaintiff Chief Craig noted that false information posted on

social media regarding the July 10, 2020 incident incited violence throughout the

city.

                    Occupation of Woodward Avenue on August 22, 2020

        99.      Despite Counter-Defendant Taylor admitting the inaccuracy of Detroit

Will Breathe’s description of the body-cam footage regarding the shootings taking

place on July 10, 2020 and July 23, 2020, Detroit Will Breathe members continue to

espouse a false narrative to rile the public.

        100. On August 22, 2020, Counter-Defendant Jazten Bass falsely stated at

Detroit Will Breathe’s “Statewide Day of Action” rally, “[t]he footage shows Hakim

being shot execution-style in the head while laying on the ground in Detroit police

custody.”

        101. On August 22, 2020, as Counter-Defendant DWB’s activities and

rallies continued, DWB tweeted “DWB is occupying the intersection of Woodward

and John R to demand the immediate end of Operation Legend and the withdrawal

of federal agents sent to Detroit by the Trump administration to terrorize Black and

Brown communities. We aren’t leaving until the feds leave.”

        102. The same day DWB tweeted “Come down here if you would like to

support us and help us hold this space.”




                                              58
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.621 Filed 09/25/20 Page 59 of 65




        103. On August 22, 2020 DWB also posted on its Facebook page “Come

down here if you would like to support us and help us hold this space!” The post

also included an image that stated “DETROIT WILL BREATHE IS OCCUPYING

THE INTERSECTION OF WOODWARD AND JOHN R TO DEMAND THE

IMMEDIATE END OF OPERATION LEGEND AND THE WITHDRAWAL OF

FEDERAL             AGENTS             SENT   TO    DETROIT   BY   THE      TRUMP

ADMINISTRATION TO TERRORIZE BLACK AND BROWN COMMUNITIES.

WE AREN’T LEAVING UNTIL THE FEDS LEAVE”

        104. Counter-Defendant T. Taylor posted a video on Facebook of himself,

telling people “So if you ain’t doing nothing and you wanna…be a part of the

movement that’s taking up space, we’re here. We ain’t leaving until they make us

leave.”

        105. Upon information and belief, Counter-Defendants (including, but not

limited to) T. Taylor, J. Bass, N. Wallace, I. Saleh, L. Rosen, O. Puente, M. Henige,

A. Nahabedian, C. Arnold, and A. Anest attended the occupation.

        106. Counter-Defendants did not obtain a permit in conjunction with this

self-proclaimed “occupation” during which they blocked off streets, obstructed

traffic, and stood in the road.

        107. At the August 22, 2020 protest, Counter-Defendant J. Bass addressed

the protestors, including Counter-Defendants, shouting, “…[I]f it's our streets and


                                               59
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.622 Filed 09/25/20 Page 60 of 65




it's our city, we got the right to post the f*** up wherever we want to, right? Which

means...that we can block off an intersection in a busy street, like street #1,

Woodward and we can declare this street our street. Which means that nobody comes

in and nobody goes out...unless we say so.”

        108. DPD officers arrived at the site of the occupation.

        109. Protestors, including Counter-Defendants had blocked all four lanes of

Woodward Avenue at the intersection of John R, thereby totally obstructing traffic

at that intersection.

        110. DPD officers issued warnings to the protestors, including Counter-

Defendants, to disperse.

        111. When issuing these warnings, DPD officers instructed Counter-

Defendants that their gathering was no longer a lawful assembly.

        112. Protestors, including Counter-Defendants, did not disperse, per the

DPD directive.

        113. When Counter-Defendants left the “occupied” area, they left water

bottles, signs, and other discarded items in the road.

        114. DPD officers were injured in the dispersal that was made necessary by

Counter-Defendants’ actions.

        115. Counter-Defendant T. Taylor was arrested for Disorderly Conduct and

Disturbing the Peace on August 23, 2020 for his behavior at the protest.


                                              60
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.623 Filed 09/25/20 Page 61 of 65




         116. Counter-Defendant N. Wallace was arrested for Obstructing Police and

Disorderly Conduct on August 23, 2020 for her behavior at the protest.

         117. Counter-Defendant L. Ellis was arrested for Obstructing Justice and

Disorderly Conduct on August 23, 2020 for her behavior at the protest.

         118. Counter-Defendant M. Henige was arrested for Obstructing Police and

Disorderly Conduct on August 23, 2020 for her behavior at the protest.

         119. Counter-Defendant C. Arnold was arrested for Obstructing Police and

Disorderly Conduct on August 23, 2020 for her behavior at the protest.

         120. Counter-Defendant A. Nahabedian was arrested for Obstructing Police

and Disorderly Conduct on August 23, 2020 for her behavior at the protest.

                   Aftermath of the Rally and Protest on August 22, 2020

         121. On August 25, 2020, Counter-Defendant Detroit Will Breathe posted

on their public Twitter account, “We demand the resignation of lyin’ ass chief Craig

. . .”

         122. On August 26, 2020, Counter-Defendant Taylor falsely stated during a

live video interview posted online, “That’s why Chief Craig has to go. That’s why

he has to go because he reigns over the police department which has given the green

light to whatever the officers feel like they want to do.”




                                              61
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.624 Filed 09/25/20 Page 62 of 65




        123. Counter-Plaintiff Chief Craig has noted that Counter-Defendant

Taylor’s continued twisting of facts has created challenges for Detroit Police

Officers.

        124. All false statements made by Counter-Defendants have been heard

and/or read by third parties.

        125. All statements made by Counter-Defendants have hindered Counter-

Plaintiffs’ ability to adequately protect public safety and serve Detroit citizens.

                     Counter-Defendants’ Activity on September 5, 2010

        126. On September 4, 2020, this Court entered a Temporary Restraining

Order against the DPD.

        127. On September 5, Plaintiff DWB called on protestors to celebrate the

limitations this Court put on DPD officers’ ability to adequately protect the public.

        128. That night, two individuals involved in Plaintiffs’ organized

demonstration defaced public property, spray painting “Slave Owner Land Thief”

under a statue and placing a bag over the statue’s head.

        129. Other protestors stood on the outside dining barrier of a local restaurant

and disrupted patrons’ dinners.

        130. A protestor affiliated with Plaintiff DWB publicly called for a

continuation of disruptive behavior.




                                              62
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.625 Filed 09/25/20 Page 63 of 65




                               COUNT I – CIVIL CONSPIRACY

        131. Counter-Plaintiffs reallege and reincorporate by reference the

preceding paragraphs 1-130.

        132. Counter-Defendants illegally, maliciously, and wrongfully conspired

with one another with the intent to and for the illegal purpose of disturbing the peace,

engaging in disorderly conduct, inciting riots, destroying public property, resisting

or obstructing officers in charge of duty, and committing acts of violence against

Counter-Plaintiffs and DPD officers.

        133. Counter-Defendants, in combination, conspired to disturb the peace,

engage in disorderly conduct, incite riots, destroy public property, resist or obstruct

officers in charge of duty, or otherwise commit acts of violence against Counter-

Plaintiffs and DPD officers.

        134. This conspiracy resulted in the illegal, unlawful, or tortious activity of

disturbing the peace, engaging in disorderly conduct, inciting riots, destroying public

property, resisting or obstructing officers in charge of duty, and other acts of violence

against Counter-Plaintiffs and DPD officers.

        135. As a result of the conspiracy and Counter-Defendants’ illegal,

wrongful, or tortious acts, Counter-Plaintiff sustained injuries and damages

including but not limited to the following:

                 a. Physical injuries;


                                              63
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.626 Filed 09/25/20 Page 64 of 65




                 b. Pain, suffering, and emotional distress;

                 c. Property damage;

                 d. Loss of business opportunities; and

                 e. Other damages that may arise during the course of discovery and the

                      course of this action.

                                              REQUEST FOR RELIEF

        WHEREFORE, Counter-Plaintiffs respectfully request this Court to:

        A.      Award Plaintiffs’ general and compensatory damages equal to the

                 amount of losses they have sustained and will sustain.

        B.      Award punitive damages as available.

        C.      Enter a declaratory judgment in Counter-Plaintiffs’ favor that Counter-

                 Defendants’ defamed Counter-Plaintiffs Mayor Michael Duggan, Chief

                 James Craig, and Detroit Police Officers and that Counter-Defendants

                 engaged in civil conspiracy.

        D.      Award Plaintiffs the costs and attorneys’ fees incurred in connection

                 with this action and such other and further relief as the Court may deem

                 just and proper.




                                                    64
ClarkHill\24180\099197\260887867.v1-9/25/20
Case 2:20-cv-12363-LJM-DRG ECF No. 43, PageID.627 Filed 09/25/20 Page 65 of 65




                                  RELIANCE UPON JURY DEMAND

        Counter-Plaintiffs, through counsel Clark Hill PLC, rely on the jury demand

filed by Counter-Defendants on or about August 31, 2020.



 Dated: September 25, 2020                         Respectfully submitted,

                                                   s/Reginald M. Turner
                                                   CLARK HILL PLC
                                                   Reginald M. Turner (P40543)
                                                   Maria Fracassa Dwyer (P60946)
                                                   Christopher M. Trebilcock (P62101)
                                                   500 Woodward Avenue, Suite 3500
                                                   Detroit, MI 48226
                                                   (313) 965-8300
                                                   rturner@clarkhill.com
                                                   mdwyer@clarkhill.com
                                                   ctrebilcock@clarkhill.com
                                                   On behalf of Defendants




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 25, 2020, I electronically filed the
foregoing paper using the Court’s ECF system, which will send notification of such
filing to all counsel of record.



                                              s/Donna S. Serement
                                              Donna S. Serement




                                              65
ClarkHill\24180\099197\260887867.v1-9/25/20
